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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

 JAMES HAYES, et al.,



        Plaintiffs,

 v.                                                       Civil Action No. 3:14-cv-258 (JAG)
                                                          [Consolidated with 3:16-cv-311]
DELBERT SERVICES CORP., et al.,

        Defendants.


                        PLAINTIFFS’ CONSENT MOTION
        FOR ORDER OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT,
      DISMISSAL OF CLAIMS WITH PREJUDICE, AND AWARDING ATTORNEYS’
          FEES, COSTS, AND CLASS REPRESENTATIVE SERVICE AWARDS

        COMES NOW the Plaintiffs, James Hayes, Debera Grant, Herbert White, Leslie Grainger,

and Donald Hill, individually and on behalf of all other similarly situated individuals, with the

consent of Defendants, pursuant to Federal Rule of Civil Procedure 23, move the Court for Final

Approval of Class Action Settlement, Dismissing Claims With Prejudice, And Awarding

Attorneys’ Fees, Costs, And Service Awards. The reasons for granting this Motion are fully set

forth in the accompanying Memorandum in support of this Motion.

                                            Respectfully Submitted,

                                            James Hayes, et al, on behalf of
                                            themselves and others similarly situated,


                                            By:            /s/

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                             CERTIFICATE OF SERVICE

       I certify that on the 23rd day of May, 2017, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system, which sent notification of such filing to all

counsel of record.




                                                    /s/
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